                          EXHIBIT 2
Document Type                                                 Page

A. Certificate of True Copy                                   1
B. Portal Docket 20240401                                     2
C. Magistrate Order 20231009                                  6
D. Release Order 20231009                                     14
E. Release Order 20231010                                     16
F. Order to Modify Conditions of Release                      18
G. Appearance Bond                                            21
H. Defendants Plea of Guilty                                  23
I. Judgment                                                   25
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                                                 Mecklenburg District Court

                                                        Case Summary
                                                 Case No. 23CR431326-590


 STATE OF NORTH CAROLINA VS SAYELINE NUNEZ                     §                        Location: Mecklenburg District Court
                                                               §                        Filed on: 10/09/2023
                                                               §    Electronic Warrants Warrant dYGRYNc7JH6U91TsR1Qyy3
                                                                                              ID:
                                                               §       Criminal Process Number: MO-23-712392
                                                               §       Criminal Process Number: RO-23-712504
                                                               §    Electronic Warrants Warrant rV6H4zAv1WCiqtCApHmjTu
                                                                                              ID:



                                                       Case Information

Offense                             Statute    Degree Offense Date Filed Date          Case Type: Criminal
1. Attempted Financial Card Fraud   14-113.13 M1          10/09/2023    10/09/2023    Case Status: 12/04/2023 Disposed

    Arrest
      Date: 10/09/2023
    Offense Reports
       Control #: 20231009160700
       Agency: Charlotte Mecklenburg Police Department
                 601 East Trade St
                 Charlotte, NC, 28202
    Filed As: FINANCIAL CARD FRAUD (F)
       Original Statute: 14-113.13
       Original Degree: FI
       Amended Date: 12/04/2023

Related Cases

Bonds
Unsecured Bond           #23B071513
 10/11/2023              Posted
 Counts: 1




                                                Assignment Information

            Current Case Assignment
            Case Number 23CR431326-590
            Court         Mecklenburg District Court
            Date Assigned 10/09/2023



                                                       Party Information

Defendant       NUNEZ, SAYELINE                   DEFENDER, PUBLIC
                 HOMELESS                         Public Defender
                 CHARLOTTE, NC 28202              BULLARD, SETH RICHARD
                 White                            Retained
                 Female
                 Height: 5′ 6″ Weight: 170
State           STATE OF NORTH CAROLINA ROBERTSON, HOPE ALEXA
                 Other                  Retained

Complainant SELLS, R
                                                          PAGE 1 OF 4                         Printed on 04/01/2024 at 9:22 AM

                                                             0002

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                                                    Mecklenburg District Court

                                                           Case Summary
                                                    Case No. 23CR431326-590

Law         SELLS, R
Enforcement
Officer



                                                            Case Events

12/04/2023                                                                                     Index # 7
              Judgment and Sentencing (Judicial Officer: REDWING, DENNIS J)
                Created: 12/04/2023 2:29 PM
10/30/2023                                                                                     Index # 6
              Legacy Complete Case Scan
                Created: 10/30/2023 9:28 AM
10/11/2023                                                                                     Index # 5
              Bond Posted
                Created: 10/11/2023 10:17 AM
10/10/2023                                                                                     Index # 4
              Order of Assignment of Counsel or Denial of Counsel
                Created: 10/10/2023 12:31 PM
10/10/2023                                                                                     Index # 3
              Modification of Bond
                Created: 10/10/2023 12:31 PM
10/10/2023    Counsel Appointed - Public Defender
                Created: 10/10/2023 12:31 PM
10/10/2023
              Release Order Modified
                Location: MECKLENBURG COUNTY COURTHOUSE
                Crim Proc #: RO-23-712504
                Created: 10/10/2023 12:27 PM
10/09/2023                                                                                     Index # 8
              Affidavit
                 Arrest Narrative
                 Created: 02/29/2024 5:32 PM
10/09/2023                                                                                     Index # 2
              Release Order Issued
                Location: MECKLENBURG COUNTY COURTHOUSE
                Crim Proc #: RO-23-712504
                Created: 10/09/2023 8:07 PM
10/09/2023                                                                                     Index # 1
              Magistrate Order Issued
                Location: MECKLENBURG COUNTY COURTHOUSE
                Crim Proc #: MO-23-712392
                Party: Defendant NUNEZ, SAYELINE
                Created: 10/09/2023 8:05 PM



                                                            Dispositions

12/04/2023 Active (Judicial Officer: REDWING, DENNIS J)
            1. Attempted Financial Card Fraud
               10/09/2023 (M1) 14-113.13 (2699)

               Confinement
                Minimum: 1 Day
                Prior Record Points: 0
                Conclusions of Law and Judicial Findings
                                                             PAGE 2 OF 4         Printed on 04/01/2024 at 9:22 AM

                                                                0003

             Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 4 of 28
                                               Mecklenburg District Court

                                                    Case Summary
                                                 Case No. 23CR431326-590
                Findings Not Required for Disposed Offense(s)
              Adult
              Agency Responsible for Confinement: Sheriff
              Location of Confinement: Mecklenburg
              Jail Credit Calculator
                Total Days: 1
                Total Credit for Time Served: 1
                Days Credited Towards Sentence: 1
            Created: 12/04/2023 2:31 PM
12/04/2023 Disposition (Judicial Officer: REDWING, DENNIS J)
            1. Attempted Financial Card Fraud
               District Guilty - Judge
           Created: 12/04/2023 2:31 PM
12/04/2023 Plea (Judicial Officer: REDWING, DENNIS J)
           NUNEZ, SAYELINE
           1. Attempted Financial Card Fraud
              Guilty
           Created: 12/04/2023 2:31 PM



                                                        Hearings

12/04/2023 Disposition Hearing (1:30 PM) (Judicial Officer: REDWING, DENNIS J)
             Resource: Location 590-1150 Mecklenburg Co. Courthouse, Courtroom 1150
             10/30/2023 Reset by Court to 12/04/2023
             MINUTES - 12/04/2023
                                                                                                  Index # 7
                                Judgment and Sentencing   (Judicial Officer: REDWING, DENNIS J)
                                    Created: 12/04/2023 2:29 PM
               Plea (Judicial Officer: REDWING, DENNIS J)
               NUNEZ, SAYELINE
               1. Attempted Financial Card Fraud
                   Guilty
               Created: 12/04/2023 2:31 PM
               Disposition (Judicial Officer: REDWING, DENNIS J)
                 1. Attempted Financial Card Fraud
                    District Guilty - Judge
               Created: 12/04/2023 2:31 PM
               Active (Judicial Officer: REDWING, DENNIS J)
                 1. Attempted Financial Card Fraud
                    10/09/2023 (M1) 14-113.13 (2699)

                Confinement
                 Minimum: 1 Day
                 Prior Record Points: 0
                 Conclusions of Law and Judicial Findings
                   Findings Not Required for Disposed Offense(s)
                 Adult
                 Agency Responsible for Confinement: Sheriff
                 Location of Confinement: Mecklenburg
                 Jail Credit Calculator
                   Total Days: 1
                   Total Credit for Time Served: 1
                   Days Credited Towards Sentence: 1
               Created: 12/04/2023 2:31 PM
               Hearing Held;
               Parties Present: State STATE OF NORTH CAROLINA
                                  Defense Attorney BULLARD, SETH RICHARD
                                  Defendant NUNEZ, SAYELINE
                 Hearing Held

                                                        PAGE 3 OF 4                                Printed on 04/01/2024 at 9:22 AM

                                                           0004

           Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 5 of 28
                                                 Mecklenburg District Court

                                                      Case Summary
                                                  Case No. 23CR431326-590
             Created: 10/10/2023 12:27 PM
10/10/2023 First Appearance Hearing (11:00 AM)
             Resource: Location 590-5170 Mecklenburg Co. Courthouse, Courtroom 5170
             MINUTES - 10/10/2023
                                                                                 Index # 3
                             Modification of Bond
                               Created: 10/10/2023 12:31 PM
                             Counsel Appointed - Public Defender
                               Created: 10/10/2023 12:31 PM
                                                                                   Index # 4
                             Order of Assignment of Counsel or Denial of Counsel
                               Created: 10/10/2023 12:31 PM
             Hearing Held;
                Hearing Held
           Created: 10/09/2023 8:06 PM



                                                       Bond Settings

10/10/2023 Amended Bond Setting
           Set By Clerk $2,500.00 Unsecured Bond




                                                          PAGE 4 OF 4                          Printed on 04/01/2024 at 9:22 AM

                                                             0005

           Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 6 of 28
     File No.                                                          Law Enforcement Case No.                               4/2 No.
                                                                                                     20231009160700
                             23CR43 1326-590
                                                                        CHARLOTTE MECKLENBURG POLICE DEPARTMENT
              MAGISTRATE'S ORDER
        THE STATE OF NORTH CAROLINA VS.
Name And Address Of Defendant
SAYELINE NUNEZ                                                          STATE OF NORTH CAROLINA                                           In The General Court Of Justice
HOMELESS                                                                                                                                        District Court Division
                                                                                     MECKLENBURG
                                                                                                                         County
      CHARLOTTE                               NC           28202
MECKLENBURG COUNTY                                                                                               OFFENSE(S) (see AOC-CR-116 Continuation(s) for charging text)
                                                                        Count                                                                                                      Offense in Violation            Offense
                                                                                                                              Offense
                                                                         No                                                                                                                   fe                    Code
Race                 Sex             Pe te Of Birth
                             F           07/18/1997
                                                            Age
                                                                  26                        F FINANCIAL CARD FRAUD (EF)
                                                                                                 -                                                                                          14-113.13                2616

Name Of Defendant's Employer


Date Of Offense
       10/09/2023
      Misdemeanor Offense Which Requires Fingerprinting Per
CI
Date Of Arrest & Check Digit No. (as shown on fingerprint card)
                10/09/2023
Arresting Officer (name, address or department)
R SELLS
CHARLOTTE MECKLENBURG POLICE DEPARTMENT
601 East Trade St
         CHARLOTTE                           NC           28202
       MECKLENBURG
Witness Information




 |, the undersigned, find that the defendant named above has been arrested without a warrant and the defendant's detention is justified because there is probable cause to
 believe that on or about the date of offense shown and in the county named above the defendant named above unlawfully, willfully, and feloniously did commit the offense(s)
 set forth above and on the attached AOC-CR-116 Continuation(s), which is (are) incorporated by reference.
 This act(s) was in violation of the law referred to in this Magistrate's Order. This Magistrate's Order is issued upon information furnished under oath by the arresting
 officer(s) shown. A copy of this Order has been delivered to the defendant.
Date Issued             Name Of Issuing Official                                Signature                                                 [X] Magistrate   [-]Deputycsc     []Assistant CSC             Clerk Of Superior Court
     10/09/2023            STANLEY                                                                                                           District Court Judge     Superior Court Judge
Location Of Court                                                                                         Court Date                                                Court Time

Mecklenburg Co. Courthouse, Courtroom 5170                                                                                      10/10/2023                                11:00AM
                                                                                 WAIVER OF PROBABLE CAUSE HEARING
 The undersigned defendant, with the consent of his/her attorney, waives the right to a probable cause hearing.
Date Waived             Signature Of Defendant                                              Name Of Attorney                                                        Signature Of Attorney

                                                                                                          0006
                                                                                                               (Over)
     AOC-CR-116, Rev. 3/23, © 2023 Administrative Office of the Courts                                                                                                           VRA Case
                                                   Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 7 of 28
                                                                                                                                    File No.
                     STATE VERSUS                                           MECKLENBURG
                                                                                                         County                                          23CR43 1326-590
Name Of Defendant
SAYELINE NUNEZ
Date Of issuance Of Magistrate's Order
                                                             NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-116. G.S. 15A-924(a)(5).
                               10/09/2023
                                                                           OFFENSES (continued)
   Count 1.       Offense:        -
                                      FINANCIAL CARD FRAUD (F)
Charging Text For This Count
 On or about the date of offense shown and in the county named above the defendant unlawfully, willfully, and feloniously did with the intent to defraud
   commit the offense of financial transaction card fraud. The defendant was authorized by ARBEST BANK the issuer of the financial transaction card in question, to furnish goods,
 money, services, and things of value upon presentation of a financial transaction card from such issuer by an authorized cardholder. The financial transaction card fraud was
 committed by furnishing $734.31 WORTH OF HOTEL ROOMS upon presentation of a financial transaction card, ARBEST BANK DEBIT CARD, obtained and retained by
                                                                                                                                                     2



 financial transaction card theft under G. S. 14-113.9. The services described above were obtained and furnished within a period of six months, 10/09/2023 and had a value in
 excess of $500.00.




   Count 2.       Offense:
Charging Text For This Count




  AOC-CR-116 Continuation, Rev. 3/23                                                0007
  © 2023 Administrative Office of the Courts                                                                       Continuation Page            of            Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 8 of 28
                                                                                                                                   File No.
                     STATE VERSUS                                          MECKLENBURG
                                                                                                        County                                      23CR43 1326-590
Name Of Defendant
SAYELINE NUNEZ
Date Of issuance Of Magistrate's Order
                                                            NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-116. G.S. 15A-924(a)(5).
                               10/09/2023
                                                                          OFFENSES (continued)
   Count 3.       Offense:
Charging Text For This Count




   Count 4.       Offense:
Charging Text For This Count




  AOC-CR-116 Continuation, Rev. 3/23                                               0008
  © 2023 Administrative Office of the Courts                                                                      Continuation Page            of        Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 9 of 28
                                                                                                                                    File No.
                     STATE VERSUS                                           MECKLENBURG
                                                                                                         County                                      23CR43 1326-590
Name Of Defendant
SAYELINE NUNEZ
Date Of issuance Of Magistrate's Order
                                                             NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-116. G.S. 15A-924(a)(5).
                               10/09/2023
                                                                           OFFENSES (continued)
   Count 5.       Offense:
Charging Text For This Count




   Count 6.       Offense:
Charging Text For This Count




  AOC-CR-116 Continuation, Rev. 3/23                                                0009
  © 2023 Administrative Office of the Courts                                                                       Continuation Page            of        Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 10 of 28
                                                                                                                                    File No.
                     STATE VERSUS                                           MECKLENBURG                                                              23CR43 1326-590
                                                                                                         County
Name Of Defendant
SAYELINE NUNEZ
Date Of issuance Of Magistrate's Order
                                                             NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-116. G.S. 15A-924(a)(5).
                               10/09/2023
                                                                           OFFENSES (continued)
   Count 7.       Offense:
Charging Text For This Count




   Count 8.       Offense:
Charging Text For This Count




  AOC-CR-116 Continuation, Rev. 3/23                                                0010
  © 2023 Administrative Office of the Courts                                                                       Continuation Page            of        Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 11 of 28
                                                                                                                                    File No.
                     STATE VERSUS                                           MECKLENBURG
                                                                                                         County                                      23CR43 1326-590
Name Of Defendant
SAYELINE NUNEZ
Date Of Issuance Of Magistrate's Order
                                                             NOTE: Use this page to set forth the charging text for each offense listed on the AOC-CR-116. G.S. 15A-924(a)(5).
                               10/09/2023
                                                                           OFFENSES (continued)
   Count 9.       Offense:
Charging Text For This Count




   Count 10.        Offense:
Charging Text For This Count




  AOC-CR-116 Continuation, Rev. 3/23                                                0011
  © 2023 Administrative Office of the Courts                                                                       Continuation Page            of        Continuation Pages
                                            Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 12 of 28
                                                                                                                                                                       File No.
                       STATE VERSUS                                                                 MECKLENBURG                           County                                               23CR43 1326-590
Name Of Defendant                                                          NOTE: Use this page to enterjudgment on a Magistrate's Order. Use this Judgment page only if imposing a single, consolidated judgment
SAYELINE NUNEZ                                                                      for all offenses of conviction charged under this file number. Do not use this Judgment page to impose sentence: (i) if imposing separate
Date Of issuance Of Magistrate's Order                                             judgments for separate offenses of conviction charged under this file number, (ii) to impose supervised probation; or (iii) for DWI sentences
                                                                                    under G.S. 20-179. For DWI, use AOC-CR-342 (active)        or  OC-CR-31 (probation). For structured sentencing offenses, use AOC-CR-602
                                10/09/2023                                          (active)or    AOC-CR-604 (probation).
                                                                                                             JUDGMENT
District Attorney                                         Def, Waived Attorney     Def. Found Not Indigent   Attorney For Defendant                                Appointed                     PRIOR CONVICTIONS:
                                                          Def. Denied Appointed Counsel                                                                            Retained       No./Level:    00 1(0)                OO   int (5+)



OFFENSES: The following offenses, which are set forth by Count No. in the Magistrate's Order issued in this case on the date noted above for the defendant named above, are the
subject of this Judgment:

Count 1         PLEA:      [] guilty [] not guilty [] no contest                                               VERDICT:    [] guilty [] not guilty                                    M.cL.: Oa1


Count 2              [
                PLEA :        guilty      not guilty   [] no contest                                           VERDICT: [      guilty   [] not guilty                                 M.CL :     [Jat
Count 3         PLEA [ :      guilty      not guilty   Ono contest                                             VERDICT: [      guilty   [] not guilty                                 M.CL :     JA1
Count 4         PLEA [ :      guilty   [] not guilty Ono contest                                               VERDICT: [      guilty   [] not guilty                                 M.CL :     ]A1
Count 5         PLEA:         guilty      not guilty   Ono contest                                             VERDICT: [      guilty      not guilty                                 M.CL :


Count 6         PLEA:         guilty   C not guilty [] no contest                                              VERDICT:    [] guilty [] not guilty                                    M.CL :     [a1
Count 7         PLEA:         guilty      not guilty      no contest                                           VERDICT:    [J guilty [] not guilty                                    M.CL :     [ ]A1
Count 8         PLEA2         guilty   [] not guilty [] no contest                                             VERDICT:    [J guilty [] not guilty                                    M.CL : LJA1            Liz
Count 9         PLEA   2
                              guilty      not guilty   [] no contest                                           VERDICT:    [] guilty [] not guilty                                    M.CL : LJAt            Lz
Count 10        PLEA   2
                              guilty      not guilty   [] no contest                                           VERDICT:    [] guilty [] not guilty                                    M.CL : LJA1            Lz




                                                                                                                  (Over)


   AOC-CR-116 Judgment, Rev. 3/23                                                                              0012
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                                                Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 13 of 28
                                                                                                                                                                                     File No
                        STATE VERSUS                                                                     MECKLENBURG
                                                                                                                                                  County                                                23CR431326-590
Name Of Defendant
                                                                              *NOTE: Use this Judgment page only if imposing a single, consolidated judgment for all offenses of conviction charged under this file number. Do net use this
SAYELINE NUNEZ                                                                            Judgment page to impose sentence: (i) if imposing separate judgments for separate offenses of conviction charged under this file number; (ii) to impose
                                                                                          supervised probation; or (ili) for DWI sentences under G.S. 20-179. For DWI, use AOC-CR-342 (active) or AOC-CR-310 (probation). For structured sentencing
                                                                                          offenses, use AOC-CR-602 (active) or AOC-CR-604 (probation).

                                                                                                       JUDGMENT (continued)
JUDGMENT: The defendant appeared in open court and freely, voluntarily and understandingly entered the above plea(s) on Side One. On the verdict(s) from Side One, it is ORDERED that all offenses of
conviction, if more than one, be consolidated for judgment with Count No.                   (list count of lead offense) and that the defendant:
                                                 Amount Of Fine/Penalty             Costs
   pay the following fine/penalty and costs:
                                                 $                                  $
Cbe imprisoned for a term of                days in custody of the           []
                                                                             sheriff    []MCP. Cpac.*                Pretrial credit        days served.
   Work release          is recommended.          is not recommended.          (NOTE: 7o order work release, use form AOC-CR-602 to impose judgment.)
   The Court finds that a         longer       shorter     period of probation than that which is specified in G.S. 15A-1343.2(d) is necessary.
   Execution of the sentence is suspended and the defendant is placed on unsupervised probation* for                         months, subject to the following conditions:
        1. commit no criminal offense in any jurisdiction.      2. possess no firearm, explosive or other deadly weapon listed in G.S. 14-269.
        3. remain gainfully and suitably employed, or faithfully pursue a course of study or of vocational training that will equip the defendant for suitable employment and abide by all rules of the institution.
        4. satisfy child support and family obligations, as required by the Court.         5. Submit to the taking of digitized photographs, including photographs of the defendant's face, scars, marks, and tattoos,
           to be included in the defendant's records.       6. pay to the Clerk the costs of court and any additional sums shown below.

            Costs                      Fine                          Restitution**                   Altorney's Fee               Community Service Fee       Other                 Total Amount Due
              $                            $                             $                                  $                               $                              $                             $
              ""Name(s), address(es), and amount(s) for aggrieved party(ies) to receive restitution: (NOTE TO CLERK: Record SSN or Tax ID No. of aggrieved party(ies) on AOC-CR-382, "Certification Of Identity (Victims' Restitution/
              Certification Of Identity (Witness Attendance).")



         7. complete          hours of community service during the first                   days of probation, as directed by the judicial services coordinator, and pay the fee prescribed by G.S. 143B-1483 within                           days.
         8. not be found in or on the premises of the complainant or
         9. not assault, communicate with or be in the presence of the complainant or
        10. provide   DNA sample pursuant to G.S. 15A-266.4. (AOC-CR-319 required)
                        a




         1.    Other:




  The Court finds just cause to waive costs as ordered on attached []AOC-CR-415. []AOC-CR-618.           Other:               []
It is ORDERED that this:    Judgment is continued upon payment of costs.
                            case be consolidated for judgment with
                              C
                            sentence is to run at the expiration of the sentence in
  COMMITMENT: It is ORDERED that the Clerk deliver two certified copies of this Judgment and Commitment to the sheriff and that the sheriff cause the defendant to be retained in custody to
                    serve the sentence imposed or until the defendant shall have complied with the conditions of release pending appeal.
PROBABLE CAUSE:          Probable cause is found as to all Counts except                                              , and the defendant is bound over to Superior Court for action by the grand jury.

                         No probable cause is found as to Count(s)                                                                           of this Magistrate's Order and the Count(s) is dismissed.
Date                         Name Of District Court Judge Or Magistrate (type or print)                                            Signature Of District Court Judge Or Magistrate


                                                                                                            APPEAL ENTRIES
[] The defendant, in open court, gives notice of appeal to the               []District          Superior       Court.
[] The current pretrial release order is modified as follows:
Date                         Name Of District Court Judge Or Magistrate (type or print)                                     Signature Of District Court Judge Or Magistrate


                                                                                                                CERTIFICATION
|
 certify that this Judgment is a true and complete copy of the original which is               Pate                         Date Delivered To Sheriff     Signature                                                    Dep.csc       []Asst. csc
on file in this case.                                                                                                                                                                                                   Clerk OF Superior Court
                                                                                                                    0013
    AOC-CR-116 Judgment, Side Two, Rev. 3/23, © 2023 Administrative Office of the Courts
                                                Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 14 of 28
                                                                                                     File No
   STATE OF NORTH CAROLINA                                                                                          sacrasr326-590
                   E                 B                                                               In The General Court Of Justice
                                                           County                                    District      [] Superior Court Division
                                      STATE VERSUS
       ame And Address Of Defendant
                                                                                                     CONDITIONS OF RELEASE
Name




SAYELINE NUNEZ
HOMELESS                                                                                              AND RELEASE ORDER

CHARLOTTE                                                           NC            28202                                                                   G.S. Chapter 15A, Art. 25, 26
                                                                                                 Process No.                                   Amount Of Bond
                                                                                                 # RO-23-712504                                $                  2,500.00
File Numbers And Offenses
                                MAG ORDR; F FINANCIAL CARD FRAUD (F);
23CR43 326-590
                                            -


               1




         See Attachment.
Location Of Court                                                                                                                          Date              Time
                                                                                       Superior                  District
                                                                                                               11:00 AM
Mecklenburg Co. Courthouse, Courtroom 5170                                                      10/10/2023
 To The Defendant Named Above, you are ORDERED to appear before the Court as provided above and at all subsequent continued dates.
       If you fail to appear, you will be arrested and you may be charged with the crime of willful failure to appear. You also may be arrested without a
       warrant if you violate any condition of release in this Order or in any document incorporated by reference.
       The defendant has been advised of charge(s) against him/her and his/her right to communicate with counsel and friends.
            Your release is authorized upon execution of your    WRITTEN PROMISE to appear           UNSECURED BOND in the amount shown above
                CUSTODY RELEASE                 x
                                             SECURED BOND inthe amount shown above NOTE:                                                        )
            C HOUSE ARREST with ELECTRONIC MONITORING administered by agency)                                                             and the SECURED
                BOND above. You may leave your residence for the purpose(s) of      employment          counseling      course of study   _
                                                                                                                                           vocational training




          Your release is not authorized.
          The defendant is required to provide (check ail that apply)      fingerprints under G.S 15A-502        a DNA sample under G.S. 15A-266.3A.
          Prior to release the defendant shall provide his/her (check all that apply)     fingerprints      DNA sample.
          The defendant has been          (i) charged with a felony while on probation (complete AOC-CR-272, Side One)       (ii) arrested for violation of probation
          with a pending felony charge or prior conviction requiring registration under G.S. 14, Article 27A (complete AOC-CR-272, Side Two).
          This Order is entered upon defendant's warrantless arrest for violation of conditions of release entered previously for the above-captioned case in the
          Order dated
          The defendant is charged with an offense subject to G.S. 15A-534.1, and no judge has acted under that statute within 48 hours of defendant's arrest.
          The defendant was arrested or surrendered after failing to appear as required under a prior release order.
          This was the defendant's second or subsequent failure to appear in this case.
          Your release is subject to the conditions as shown on the attached 7AOC-CR-242.               AOC-CR-270. []AOC-CR-630. []AOC-CR-631.
                                                                                   ]AOC-cR-660.         Other:
Additional Information




Date                    Name Of Judicial Official                         Sianature Of Judicial Official                          Magistrate       Deputy CSC             Assistant CSC
       10/09/2023       IGANLEY                                                                                                   Clerk of Superior Court.    Loc Judge            SC Judge
                                                                            ORDER OF COMMITMENT
       To The Custodian Of The Detention Facility Named Below, you are ORDERED to receive in your custody the defendant named above who may be
       released if authorized above. If the defendant is not sooner released, you are ORDERED to:          produce him/her in Court as provided above.
       []hold him/her          as provided on the attached AOC-CR-272.             for the following purpose: CTRM 5170 TUE 10.10 @ 11AM

          [for charges covered by G.S. 15A-533(h), 15A-534.1, 15A-534.7, or 15A-534.8] produce him/her at the first session of District or Superior Court held in this county after the entry
          of this Order or, if no session is held before (for G.S. 15A-534.8, enter date and time 24 hours after arrest; for all others, 48 hours after arrest)
                          ,   produce him/her before a magistrate of this county at that time to determine conditions of pretrial release.
Name Of Detention Facility                                 Date                   Name Of Judicial Official                              Signature Of Judicial Official
MCSO                                                          10/09/2023          STANLEY
                                                                                          0014
       AOC-CR-200, Rev. 10/23, © 2023 Administrative Office of the Courts
                                                                                            (Over)                                                                              VRA Case
                       Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 15 of 28
                                           WRITTEN PROMISE TO APPEAR OR CUSTODY RELEASE
 |
  , the undersigned, promise to appear at all hearings, trials or otherwise as the Court may require and to abide by any restrictions set out above.

   understand and agree that this promise is effective until the entry of judgment in the District Court from which no appeal is taken or until the entry of
 judgment in Superior Court. If am released to the custody of another person, agree to be placed in that persons custody, and that person agrees by
 his/her signature to supervise me.
Date                      Signature Of Defendant                                 Signature Of Person Agreeing To Supervise Defendant

Name Of Person Agreeing To Supervise Defendant (type or print)                   Address Of Person Agreeing To Supervise Defendant


                                                            DEFENDANT RELEASED ON BAIL
Date                                       Time                                   Signature Of Custodian


                                                      CONDITIONS OF RELEASE MODIFICATIONS
The Conditions of Release on the reverse are modified as follows:
                                    Modification                                          Date                       Signature Of Judicial Official




                                                    SUPPLEMENTAL ORDERS FOR COMMITMENT
The defendant is next Ordered produced in Court as follows:
       Date           Time                        Place                        Purpose                               Signature Of Judicial Official




                                                   DEFENDANT RECEIVED BY DETENTION FACILITY
                          Date                                     Time                                        Signature Of Custodian




                                              DEFENDANT RELEASED FOR COURT APPEARANCE
                          Date                                     Time                                        Signature Of Custodian




NOTE TO CUSTODIAN: This form shall accompany the defendant to court for all appearances.
 AOC-CR-200, Side Two, Rev. 10/23
     © 2023 Administrative Office of the Courts                           0015

                  Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 16 of 28
                                                                                                          File No
   STATE OF NORTH CAROLINA                                                                                              sacrasr326-590
                   E                  B                                                                   In The General Court Of Justice
                                                              County                                     District      [] Superior Court Division
                                       STATE VERSUS
       ame And Address Of Defendant
                                                                                                         CONDITIONS OF RELEASE
Name




SAYELINE NUNEZ
HOMELESS                                                                                                  AND RELEASE ORDER

CHARLOTTE                                                                NC           28202                                                                  G.S. Chapter 15A, Art. 25, 26
                                                                                                     Process No.                                 Amount Of Bond
                                                                                                     #   RO-23-7 12504                           $                   2,500.00
File Numbers And Offenses
                                 MAG ORDR; F FINANCIAL CARD FRAUD (F);
23CR431326-590
                                              -




         See Attachment.
Location Of Court                                                                                                                             Date              Time
                                                                                       Superior                      District
                                                                                                                1:30 PM
Mecklenburg Co. Courthouse, Courtroom 1150                                                      10/30/2023
 To The Defendant Named Above, you are ORDERED to appear before the Court as provided above and at all subsequent continued dates.
       If you fail to appear, you will be arrested and you may be charged with the crime of willful failure to appear. You also may be arrested without a
       warrant if you violate any condition of release in this Order or in any document incorporated by reference.
       The defendant has been advised of charge(s) against him/her and his/her right to communicate with counsel and friends.
       x    Your release is authorized upon execution of your    WRITTEN PROMISE to appear                             x
                                                                                                     UNSECURED BOND in the amount shown above
                CUSTODY RELEASE              SECURED BOND n the amount shown above (NOTE: Give a copy ofthis order to any surety who posts bond.)
            C HOUSE ARREST with ELECTRONIC MONITORING administered by agency)                                                             and the SECURED
                BOND above. You may leave your residence for the purpose(s) of      employment          counseling      course of study    vocational training
                                                                                                                                            _




           Your release is not authorized.
       x The defendant is required to provide (check ail that apply)              x
                                                                            fingerprints under G.S. 154-502.       a DNA sample under G.S. 15A-266.3A.
           Prior to release the defendant shall provide his/her (check all that apply)     fingerprints      DNA sample.
           The defendant has been          (i) charged with a felony while on probation (complete AOC-CR-272, Side One)       (ii) arrested for violation of probation
           with a pending felony charge or prior conviction requiring registration under G.S. 14, Article 27A (complete AOC-CR-272, Side Two).
           This Order is entered upon defendant's warrantless arrest for violation of conditions of release entered previously for the above-captioned case in the
           Order dated
           The defendant is charged with an offense subject to G.S. 15A-534.1, and no judge has acted under that statute within 48 hours of defendant's arrest.
           The defendant was arrested or surrendered after failing to appear as required under a prior release order.
           This was the defendant's second or subsequent failure to appear in this case.
           Your release is subject to the conditions as shown on the attached 7AOC-CR-242.                  AOC-CR-270. []AOC-CR-630. []AOC-CR-631.
                                                                                        ]AOC-cR-660.        Other:
Additional Information




Date                    Name Of Judicial Official                             Signature Of Judicial Official                          Magistrate       Deputy CSC      Assistant CSC
       10/10/2023       HONORABLE M NEWTON. by and through Marcia Caviness                                                            Clerk Of Superior Court     DC Judge       SC Judge
                                                                               ORDER OF COMMITMENT
       To The Custodian Of The Detention Facility Named Below, you are ORDERED to receive in your custody the defendant named above who may be
       released if authorized above. If the defendant is not sooner released, you are ORDERED to: produce him/her in Court as provided above.
       []hold him/her          []as provided on the attached AOC-CR-272.                      for the following purpose:

           [for charges covered by G.S. 15A-533(h), 15A-534.1, 15A-534.7, or 15A-534.8] produce him/her at the first session of District or Superior Court held in this county after the entry
           of this Order or, if no session is held before (for G.S. 15A-534.8, enter date and time 24 hours after arrest; for all others, 48 hours after arrest)
                           ,   produce him/her before a magistrate of this county at that time to determine conditions of pretrial release.
Name Of Detention Facility                                     Date                   Name Of Judicial Official                             Signature Of Judicial Official
MCSO                                                               10/10/2023         HONORABLE M NEWTON, by and through Marcia Caviness

                                                                                             0016
       AOC-CR-200, Rev. 10/23, © 2023 Administrative Office of the Courts
                                                                                               (Over)                                                                           VRA Case
                       Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 17 of 28
                                           WRITTEN PROMISE TO APPEAR OR CUSTODY RELEASE
 |
  , the undersigned, promise to appear at all hearings, trials or otherwise as the Court may require and to abide by any restrictions set out above.

   understand and agree that this promise is effective until the entry of judgment in the District Court from which no appeal is taken or until the entry of
 judgment in Superior Court. If am released to the custody of another person, agree to be placed in that persons custody, and that person agrees by
 his/her signature to supervise me.
Date                      Signature Of Defendant                                 Signature Of Person Agreeing To Supervise Defendant

Name Of Person Agreeing To Supervise Defendant (type or print)                   Address Of Person Agreeing To Supervise Defendant


                                                            DEFENDANT RELEASED ON BAIL
Date                                       Time                                   Signature Of Custodian


                                                      CONDITIONS OF RELEASE MODIFICATIONS
The Conditions of Release on the reverse are modified as follows:
                                    Modification                                          Date                       Signature Of Judicial Official




                                                    SUPPLEMENTAL ORDERS FOR COMMITMENT
The defendant is next Ordered produced in Court as follows:
       Date           Time                        Place                        Purpose                               Signature Of Judicial Official




                                                   DEFENDANT RECEIVED BY DETENTION FACILITY
                          Date                                     Time                                        Signature Of Custodian




                                              DEFENDANT RELEASED FOR COURT APPEARANCE
                          Date                                     Time                                        Signature Of Custodian




NOTE TO CUSTODIAN: This form shall accompany the defendant to court for all appearances.
 AOC-CR-200, Side Two, Rev. 10/23
     © 2023 Administrative Office of the Courts                           0017

                  Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 18 of 28
                                                                                                          File No
   STATE OF NORTH CAROLINA                                                                                23CR43 1326-590
                                                                                                                In The General Court Of Justice
   Mecklenburg County                                                                                                       District Court
                  STATE VERSUS
  Name Of Defendant                                                                                      ORDER TO MODIFY
  Sayeline Nunez                                                                                   CONDITIONS OF RELEASE
                                                                                 Process No.                                   Amount Of Bond
                                                                                 #MO-23-712392; RO-23-712504
  File Numbers And Offenses
   23CR431326-590                     FINANCIAL CARD FRAUD (F)



                                     G.S. 15A-533 ELIGIBILITY FOR CONDITIONS OF RELEASE FINDINGS
                                                 Only a judge may determine whether release is appropriate.
    Serious Felony Offenses
    Only a district or superior court judge may consider release in his or her discretion. Defendant may be held without conditions of release in the discretion
    of the presiding judge.
    [] The defendant is charged with an offense enumerated in G.S. 15A-533(b): first or second degree murder (or attempt to commit
       either),    first or second degree kidnapping, [] first or second degree forcible rape or sex offense, [] statutory rape or statutory
       sex offense, [] human trafficking,       assault with a deadly weapon with intent to kill inflicting serious injury, [] discharging a
       weapon   into  occupied property, [] first degree burglary, [] first degree arson or [] robbery with a firearm or other dangerous
        weapon.
    Trafficking Offenses
    Only a district or superior court judge may consider release upon a finding that the defendant has overcome the rebuttable presumption that no condition
    of release will reasonably assure the defendant's appearance and that defendant's release poses an unreasonable risk to the community.
    (G.S. 15A-533(d), (e), or (f).)
    [] There is reasonable cause to believe that the defendant committed an offense involving trafficking in a controlled substance AND
            The drug trafficking offense was committed while the defendant was on pretrial release for another offense; AND
            the person has previously been convicted of a Class A through E felony or an offense involving trafficking in a controlled
        substance and not more than five years has elapsed since the date of the conviction or the person's release from prison for the
        offense, whichever is later. G.S. 15A-533(d)
    Criminal Street Gang Offenses
    Only a district or superior court judge may consider release upon a finding that the defendant has overcome the rebuttable presumption that no condition
    of release will reasonably assure the defendant's appearance and that defendant's release poses an unreasonable risk to the community.
    (G.S. 15A-533(d), (e), or (f).)
        There is reasonable cause to believe that the defendant committed an offense for the benefit of, at the direction of, or in association
        with, any criminal street gang, as defined in G.S. 14-50.16A. AND           []
                                                                               The offense was committed while the defendant was on pretrial
        release for another offense; AND      []
                                               the person has previously been convicted of an offense described in G.S. 14-50.16 through
        14-50.20 or (ii) has been convicted of a criminal offense and received an enhanced sentence for that offense pursuant to
        G.S. 15A-1340.16E, and not more than five years has elapsed since the date of conviction or the person's release whichever is later.
        G.S. 15A-533(e)
    Firearms Offenses
    Only a district or superior court judge may consider release upon a finding that the defendant has overcome the rebuttable presumption that no condition
    of release will reasonably assure the defendant's appearance and that defendant's release poses an unreasonable risk to the community.
    (G.S. 15A-533(d), (e), or (f).)
    [] There is reasonable cause to believe that the defendant committed an offense involving the illegal use, possession, or discharge of a
       firearm which is a felony or class A1 misdemeanor AND       The offense was committed while the person was on pretrial release for
       another felony or Class A1 misdemeanor involving the illegal use, possession, or discharge of a firearm OR [] the person has
        previously been convicted of a felony or Class A1 misdemeanor involving the illegal use, possession, or discharge of a firearm and
        not more than five years has elapsed since the date of the conviction or the person's release from prison for the offense, whichever is
        later. G.S. 15A-533(f).

    Defendant charged with new offense while on pretrial release:
        defendant is charged with a new offense while on pretrial release for another offense.




CRF-20 (ICMS), Page 1 of 3, 9/2023                                        0018

                 Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 19 of 28
                                     G.S. 15A-534 FINDINGS TO DETERMINE CONDITIONS OF RELEASE
         Nature and circumstances of the offense charged

             [] Domestic Violence: defendant is charged with assault on, stalking, communicating a threat to, or committing a felony upon a
                 spouse, former spouse, a person with whom the defendant lives or has lived as if married, or a person with whom the
                 defendant is or has been in a dating relationship as defined in G.S. 50B-19(b)(6).

             [] Threats of Mass Violence. The defendant is charged with communicating a threat of mass violence on educational property
                 in violation of G.S. 14-277.6 or communicating a threat of mass violence at a place of religious worship in violation of
                 G.S. 14-277.7.
    O Weight of the evidence against the defendant
    [] The defendant's family ties, employment, financial resources, character and mental condition
    [] The defendant intoxicated to such a degree that he would be endangered by being released without supervision
    O Length of residency in the community
         Record of convictions None
    O History of flight to avoid prosecution or failure to appear at court proceedings
           O The defendant was arrested or surrendered after failing to appear as required under a prior release order;
           O This was the defendant's second or subsequent failure to appear in this case.
    [] This finding is entered upon defendant's warrantless arrest for violation of conditions of release entered previously for the
         above-captioned case in the Order dated
    []   Defendant has violated previously imposed conditions of release imposed by order entered on                in that defendant

         Other Insufficient evidence/allegations presented at first appearance to support maintaining a secured bond.
    New Felony Charge While on Probation:
    L] defendant is charged with a felony AND the defendant is on probation. O the defendant poses a danger to the public, and therefore
       will be held on a secured bond or a secured bond with house arrest; or O the defendant does not pose a danger to the public, and
         therefore conditions of release are set out as provided in G.S. Chapter 15A, Article 26 or   O  there is insufficient information to
         determine whether the defendant poses a danger to the public, and the undersigned is in need of the following information:
         The defendant will be brought back no later than           (date) at      (time) no later than 7 days from arrest to determine
         conditions of release (or sooner if the information is obtained). G.S. 15A-534(d2).
    Conditions of release for probation violation arrest with pending felony:
    []defendant is arrested for violating probation AND the      []
                                                              defendant is charged with a felony or         []  has been convicted of an offense
         at any time that requires registration under Article 27A of Chapter 14 of the General Statutes or an offense that would have required
         registration but for the effective date of the law establishing the Sex Offender and Public Protection Registration Program. The
         judicial official must determine conditions of release as follows:[]    the defendant poses a danger to the public, and therefore release
         is denied pending the defendant's probation revocation hearing as ordered and pursuant to G.S. 15A-1345(b1)(1); or         C  the
         defendant does not pose a danger to the public, and therefore conditions of release are set out as provided in G.S. Chapter 15A,
         Article 26 or []   there is insufficient information to determine whether the defendant poses a danger to the public, and the
         undersigned is in need of the following information:           . The defendant will be brought back no later than       (date) at
         (time) no later than 7 days from arrest to determine conditions of release (or sooner if the information is obtained).
         G.S. 15A-1345(b1).




CRF-20 (ICMS), Page 2 of 3, 9/2023                                    0019

                 Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 20 of 28
                                                      G.S. 15A-534 ORDER: CONDITIONS OF RELEASE
    You are ORDERED to appear before the Court as provided below and at all subsequent continued dates. If you fail to appear, you will
    be arrested, and you may be charged with the crime of willful failure to appear. You are to commit no crimes while you are on pretrial
    release. You also may be arrested without a warrant if you violate any condition of release in this Order or in any document incorporated
    by reference.
    Location of Court:       District Courtl1150 Date: 10/30/23 Time: 1:30pm
    Based on the above findinas, the undersiqned hereby orders the following conditions of release:
       Your release is not authorized.
         You shall be released upon a written promise to appear.
    Dx] You shall be released upon the execution of an unsecured appearance bond in the amount of: $2,500.
         You shall be released to the custody of the following person or organization agreeing to supervise you:             (name of designated
         person or organization).
         You shall be released to Mecklenburg County Pretrial Services in accordance with their terms of supervision is authorized.
         G.S. 15A-535(b);
         You are required to post an appearance bond in the amount of $            secured by a cash deposit of the full amount of the bond, or
         by a mortgage pursuant to G.S. 58-74-5, or by at least one solvent surety. Other conditions of release        will not assure your
         appearance,    [] will pose a danger of injury to any person, or  is likely to result in destruction of evidence, subornation of perjury,
         or intimidation of witnesses.


    Additional Conditions for Conduct while waiting for trial. (You must comply with these additional conditions of release. These
    conditions apply even if you are not released from custody).
         Sex crimes against children or crimes of violence against children. You are charged with a crime involving a child. You must stay
         away from the home, temporary residence, school, business or place of employment of the alleged victim. You must refrain from
         communicating or attempting to communicate, directly or indirectly with the victim, except under circumstances specified in an order
         entered by a judge with knowledge of the pending charge and you must refrain from assaulting, beating, intimidating, stalking,
         threatening or harming the alleged victim. ****If deviating from these requirements, the judicial fact finder must make written findings
         as to why this is not in the best interest of the victim. G.S. 15A-534.4.
    [] Domestic violence. You are charged with a crime involving domestic violence.
            No contact. You must stay away from the home, temporary residence, school, business or place of employment of the alleged
            victim.
            No communication. You must stay away from the home, temporary residence, school, business or place of employment of the
            alleged victim.
            Do not threaten, assault, beat, intimidate, stalk or harass the alleged victim.
            Do not remove, damage or injure the property listed.
            You may visit your child or children at times and places provided by the terms of any existing order entered by a judge.
            You may retrieve personal property from a shared residence only with the assistance of Law Enforcement.
    LE] Violent crime / crimes involving a firearm. You are charged with a violent crime, or a crime involving a firearm.       You are to have
        no contact with any alleged victims. You may not possess any firearms while you wait for disposition of your case. Law enforcement
        may check at appropriate times for lawful compliance of this condition while you are subject to electronic monitoring. (See Electronic
        Monitoring Order for additional conditions with that program). All other provisions of this order are incorporated into your conditions of
         release.
         You are required to comply with the CMPD Electronic Monitoring Program:
            CURFEW: You will have a 6pm to Gam curfew or          You will be at home for 24 hours.
            CMPD is authorized to extend or modify curfew hours or approve address changes without further court order.
                         /


            Territorial No Contact Restrictions: (must use for release upon threat of mass violence) / or in discretion of judicial official:

            Other:


    To The Custodian Of The Detention Facility of Mecklenburg County you are ORDERED to receive in your custody the
    defendant named above who may be released if authorized above. If the defendant is not sooner released, you are ORDERED
    to: produce him/her in Court as provided above.
  Date                               Judicial Official's Name/Title                        Signature
  10/10/2023                         Matthew Newton                                                        Signed: 10/10/2023 2:26:24 PM




CRF-20 (ICMS), Page 3 of 3, 9/2023                                    0020

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                                                                                           File No.
 STATE OF NORTH CAROLINA                                                                   23CR431326-590
                                                                                         In The General Court Of Justice
 Mecklenburg County                                                                    District Court Division


Name And Mailing Address Of Defendant
NUNEZ, SAYELINE                                                                               APPEARANCE BOND
HOMELESS
CHARLOTTE NC 28202
                                                                                                    FOR
                                                                                              PRETRIAL RELEASE
                                                                                                                                       G.S. 15A-531, 15A-534, 15A-544.2
Telephone No. Of Defendant                   Total Bond Required                       Amount Of This Bond                          Bond No.
                                             2,500.00                                  2,500.00                                       23B071513
File Numbers And Offenses
 23CR431326-590                                FINANCIAL CARD FRAUD (F)




   See Additional File Numbers And Offenses on Side Two, for which appearance is secured by this Bond.
   Unsecured Appearance Bond - I, the undersigned defendant, acknowledge that my personal representatives and I are bound to pay the State of North
   Carolina the sum shown above, subject to the conditions of this Bond stated on the reverse side.
                                                           DEFENDANT AND SURETY SIGNATURES
Date Of Execution Of Bond                                                              Signature Of Defendant (required for all appearance bonds)
10/11/2023
Signature Of Surety                                                                    Signature Of Surety


 SWORN/AFFIRMED AND SUBSCRIBED TO BEFORE ME                                             SWORN/AFFIRMED AND SUBSCRIBED TO BEFORE ME
Date                               Signature                                           Date                               Signature
10/11/2023
       Magistrate     Deputy CSC          Assistant CSC      Clerk Of Superior Court          Magistrate     Deputy CSC          Assistant CSC    Clerk Of Superior Court
       Custodian Of Detention Facility [G.S. 15A-537(c)]                                      Custodian Of Detention Facility [G.S. 15A-537(c)]
NOTE: If cash deposited, see notes on reverse side. (see AOC-CR-238 if release         Original - File
 AOC-CR-201 (ICMS), Rev. 2/21                     after judgment in superior court)     (Over)
  © 2021 Administrative Office of the Courts


                                                                                0021

                 Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 22 of 28
                                                                                CONDITIONS
The conditions of this Bond are that the above named defendant shall appear in the above entitled action(s) whenever required. It is agreed and understood
that this Bond is effective and binding upon the defendant and each surety throughout all stages of the proceedings in the trial divisions of the General Court
of Justice until the entry of judgment in the district court from which no appeal is taken or until the entry of judgment in the superior court, unless terminated
earlier by operation of law or order of the court. If the defendant appears as ordered until termination of the Bond, then the bond is to be void, but if the
defendant fails to appear as required, the Court will forfeit the bond pursuant to Part 2 of Article 26 of Chapter 15A of the General Statutes.
Each accommodation bondsman, by signing on the reverse or on the attached AOC-CR-201A, states: “I have reached the age of 18 years and am a bona
fide resident of North Carolina. Aside from love and affection and release of the above named defendant, I have received no consideration for acting as
surety. I own sufficient property over and above all liabilities, homestead and other exemptions allowed me by law to enable me to pay this Bond should it
be ordered forfeited. I understand that if I sign this Bond without sufficient property, I am guilty of a crime.”

                                                      ADDITIONAL FILE NUMBERS AND OFFENSES
Additional File Numbers And Offenses




     See Additional File Numbers And Offenses on attached AOC-CR-201A, Side Two, for which appearance is secured by this Bond.
                                                                                  AFFIDAVIT
NOTE: “Professional bondsmen, surety bondsmen [bail agents], and runners shall file with the clerk of court having jurisdiction over the principal an affidavit on a form furnished
      by the Administrative Office of the Courts.” G.S. 58-71-140(d). Check all options that apply.
      1. I have not, nor has anyone for my use, been promised or received any collateral, security or premium for executing this Bond.
      2. I have been promised a premium in the amount shown below, which is due on the date shown below.
      3. I have received a premium in the amount shown below.
      4. I have been given collateral security by the person named below, of the nature and in the amount shown below.
Amount Of Premium Promised                             Date Premium Due                    Amount Of Premium Received
$                                                                                          $
Name Of Person From Whom Collateral Received           Nature Of Collateral                                 Value

                                                                                                                                          AFFIX BONDSMAN’S SEAL
                                                                                                                                          OR POWER OF ATTORNEY
                                                                                                                                             CERTIFICATE HERE




                                                  RETURN OF CUSTODIAN OF DETENTION FACILITY
The defendant named on the reverse was released from my custody on the date shown below upon the execution of this Appearance Bond.
Date Defendant Released                Name Of Custodian (type or print)                    Signature Of Custodian                           Sheriff         Deputy Sheriff
                                                                                                                                             Other
NOTES ON CASH BONDS:
(1) To Official Taking The Bond. Use this form for all cash bonds. Complete this form as follows:
     When Cash Deposited By Defendant Or By Another Person Who Intends For The Cash To Be Used To Satisfy The Defendant’s Obligations.
     Enter defendant’s name, address and telephone number at the top of Side One. Check “Cash Appearance Bond By Defendant.” Have defendant sign.
     Do no more. No other person’s name should appear on this form. Enter your name, sign and enter receipt number under “Complete If Cash Deposited.”
     Make receipt out to DEFENDANT, not to any other person.
     When Cash Deposited By Another Person Who Does NOT Intend For The Cash To Be Used To Satisfy The Defendant’s Obligations.
     Enter defendant’s name, address and telephone number at the top of Side One. Check “Surety Appearance Bond.” Have defendant sign. Enter name,
     address and telephone number of person depositing cash under “Accommodation Bondsman.” Have that person sign under “Signature Of Surety.”
     Complete notarization for that person. Enter your name, sign and enter receipt number under “Complete If Cash Deposited.” Make receipt out to person
     depositing the cash.
(2) To Bookkeeper. If case disposed without forfeiture, disburse cash as follows: (1) If “Cash Appearance Bond By Defendant” checked on Side One,
     disburse to defendant or apply to defendant’s obligations if court so orders. (2) If “Surety Appearance Bond” is checked on Side One, disburse only
     to the person(s) named under “Accommodation Bondsman.”
(3) Bond By Insurance Company Or Professional Bondsman As Surety Is Same As Cash Except In Child Support. G.S. 15A-531(4) provides that
     an appearance bond executed by an insurance company or a professional bondsman (or a bail agent or runner on behalf of one of those sureties) is
     considered the same as a cash deposit, except in child support contempt proceedings for which only cash may satisfy a cash bond requirement.
    AOC-CR-201 (ICMS), Side Two, Rev. 2/21
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                                                                                  0022

                Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 23 of 28
                                                                                                                 File No
     STATE OF NORTH CAROLINA                                                                                               23 eR 431326
           ecklenbura                                Coun ty                                                           In The General Court Of Justice
                                                                                                                                District Court Division
                               STATE VERSUS
 Name Of Defendant
                                                                                           DEFENDANT'S PLEA OF GUILTY OR NO
                                                                                              CONTEST IN DISTRICT COURT
                 Plea
                                                                                                                                                        Maximum
     (GU=Guilty NC=No Contest                             Offense(s)                                           G.S. No,                Class           Punishment
          GA=Alford plea)

           Gu                      Attempted Financial(Cord Fraud                                               113.13                                 120 days
                                                      FILED
                                                   DATE: December 4, 2023
                                                   TIME:3:17: 34 PM
                                                   MECKLENBURG COUNTY,
                                                      CERKOSUPERIOR
                                                   BY1-Crandell




                                   TOTAL MAXIMUM PUNISHMENT                                                                                            {20 days
       MANDATORY MINIMUM FINES & SENTENCES (if any)
Terms Of Plea Agreement (if any)




                                   DEFENDANT'S STATEMENT WITH PLEA OF (GUILTY) (NO CONTEST)
   plead     x guilty      pursuant to Alford) O   no contest to the charge(s) listed above. understand that by entering this plea am giving up the
                                                                                                 |                                             |




 following constitutional rights, among others: (1) the right to plead not guilty and to be tried in district court by a judge, and to confront and to
 cross-examine the witnesses against me; and (2) the right to remain silent and not to be compelled to incriminate myself. understand that have the     |




 right to appeal to superior court and to be tried by a jury.
 tam not now under the influence of any impairing substance. understand the nature and elements of the charge(s) against me. understand the
                                                                         |                                                                         |



 maximum sentence(s) for the charge(s) against me and the minimum sentence(s). if applicable. understand if am not a citizen of the United States of
                                                                                                       |                    |




 America, my plea(s) of guilty or no contest may result in my deportation from this country, my exclusion from admission to this country, or the denlal of my
 naturalization under federal law. Other than any plea agreement between the State and me, no one has made any promises or threats against me in any
 way to cause me to enter this plea. enter this plea of my ownfree will, fully understanding what am doing
                                       |                                                                   |




Date                        Signature Of Defendant       Vstitied by patriter                              Witnessed By (if not represented)
                                                         12/04/2023             :
                                           Nunez
                                             CERTIFICATION BY LAWYER (if any) FOR DEFENDANT
 I certify that have explained to the defendant and the defendant has acknowledged to me that the defendant understands the constitutional rights that
 the defendant waives by entering the plea shown above, the nature and elements of the charge(s) shown above, and the maximum sentence(s) and any
 mandatory minimum sentence(s) that may be imposed for the charge(s) shown above. certify that the defendant signed this document in my presence
                                                                                             |



 and has acknowledged to me that: (1) the defendant is not now under the influence of any impairing substance; (2) other than any plea agreement
 between the State and the defendant, the defendant has not been made any promise or threatened to enter this plea against the defendant's wishes; and
 (3) the defendant enters this plea of the defendant's own free will, fully understanding what the defendant is doing.
Date                                                                Signature Of Lawyer For Qafenda
            (2-4-23
 Upon consideration of the statement. of the defendant set out in this form, the certification set out in this form by the attomey (if any) for the defendant,
 evidence presented in court, and statements by the District Attorney, defendant, and the defendant's attomey (if any) in open court, the undersigned
 finds that there is a factual basis for the entry of the plea and that the plea is the informed choice of the defendant and is made freely, voluntarily, and
 understandingly. The defendant's plea is accepted by the Court and is ordered recorded
Date                        Name Of Prasiding Judge (type or print)                                    SignataNn Of Presiding Judge

 12/4/2023                                 Dennis Redwing
     AOC-CR-322, Rev. 2/21, © 2021 Administrative Office of the Courts

                                                                                    0023

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                                                                                                                                  File No
     STATE OF NORTH CAROLINA                                                                                                                23 cR431326
                 MECKLENBURG                                                                                                            la The General Court Of Justice
                                                       County                                                                      fx] District    Superior Court Division
     NOTE: Use this form for a criminal or infraction proceeding being conducted by audio and video transmission pursuant to Emergency Difective 3 in the
     Order of May 1, 2020 by the Chief Justice. This form need not be used for a proceeding in a noncapital case for which the General Statutes expressly
     authorize audio and video transmission: initial appearances, G.S. 154-511; bail hearings, G.S. 154-532 (unless defendant objects); first appearances,
     G.S. 154-601; and arraignments, G.S. 15A-941 (for "not guilly" pleas}.
                   STATE VERSUSLED
Defendant Name
                           DATE: December 4, 2023 WAIVER OF PERSONAL APPEARANCE AND
          line Nunez       TIME:3:17: 10 PM       CONSENT TO AUDIO-VIDEO PROCEEDING
     Saye
                                                 MECKLENBURG COUNTY                                                rder of the Chief Justice of the Supreme Court of North Carolina
                                                 CLERK OF SUPERIOR COU R                                                                                               1 May 2020

Additional File No.(s} And/Or Offense(s)
                                                 BY:       |   Crandell

Date Of Proceeding                   Location Of Defendant                                         Nature Of Proceeding (e.g., mofion hearing, probable cause heanng, plea, sentencing hearing)

          2-4 -23
Atiomey For Siale
                                          New      York.
                                     Location Of States Attorney
                                                                                                    ARRAIGNMENT
                                                                                                   Attorney For Defendant (if represented)        Lacation Of Attomey (if represented)

                obertson                              COURTROOM                                     Seth Bullard                                    Courtroom
 NOTE   TO CUSTODIAN/COUNSEL: Complete aff fields above for the case(s) for which this remote audio-video proceeding is conducted before the
 defendant's execution of the waiver below. Sign the waiver as witness below after defendant has executed (he waiver. Upon completion of the proceeding,
 deliver this waiver along with any other documents resulting from the audio-video proceeding to the clerk's office for execution by the presiding official.
                                                      ACKNOWLEDGMENT OF RIGHTSANDWAIVER                                                             :
                                                                                                                                                                                                  :




 As the undersigned defendant in this action, freely and voluntarily declare that:
                                                               |




      *   Ihave been advised of my right to appear in a courtroom and be personally present for the proceeding described above;
      *   have been advised that am not required to waive my right to be present, and if do not waive that right, my casewill not be
          |                           |



        unreasonably delayed;
      +   have been advised that have the right to appear in court for the purpose of confronting and cross-examining any witnesses who
          |                           |



        may testify in this proceeding;
        if represented by an attorney, have been afforded the ability to consult privately with my attorney and understand that will be able
                                            |                                                                                                                              |


        fo consult with my attorney privately during this proceeding;
                        by an attorney, [ have had the opportunity to discuss this right to personal appearance with my attorney;and
      «
        if re
        !      understand and appreciate the consequences of my decision to waive the right to appear personally in court for the proceeding
        described above.

 | therefore freely, voluntarily,t and knowingly waive my right to be present in the courtroom for this proceeding, including for the purpose
 of confronting and cross-examining any witnesses who may testify, and consent to participate in this proceeding by audio and video
                                                                                                        |


 transmission.
Date                          Signature Of Defendant                  Verified hy patFute


          (Z-        23       Saudine Nunez
                                                                      12/04/2023


Name Of Witness                                                                  Signature Of Witness                                                   Counsef for Defendant
                                                                                                                                                   C other (specify)
              Seth
                                                                    CERTIFICATE OF JUDICIAL OFFICIAL                                        e

 |
  certify that the above named defendant was advised on the Date Of Proceeding above of the right to appear in a courtroom and be
personally present for the praceeding described above; that he/she was advised that his/her case would not be unreasonably delayed if
that right was not waived; that he/she was advised of the right to appear in court for the purpose of confronting and cross-examining any
witnesses who may testify; that he/she uddeeetae did ppreciates the consequences of his/her decision to waive the right to personal
appearance; and that the defendant voluntarily, knowingly and intelligently waived the right to personal appearance and consented to
conduct the proceeding described above by audio and video transmission.
Location Of Judicial Official During Proceeding Described Above


                            me Of Judicial Official (typ           print)                         Signat;   Of Judicial Officia   "                               District Court Judge
                                            Redwina                                                                                                                  perior Court Judge

NOTE TO PRESIOING OFFICIAL: Upon verification of the information above that identifies the éase(s) and proceeding conducted by audio and video
transmission, complete this signature section and file with the clerk of superior court for the county in which the case(s) is pending.




     Waiver Of Personal Appearance And Consent To Audio-Video Proceeding [Temporary]
     © 2020 Administrative Office of the Courts
                                                                                            0024

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                                                                                             File No.
 STATE OF NORTH CAROLINA                                                                     23CR43 1326-590
                                                                                       Citation No.
 Mecklenburg County
                               STATE VERSUS                                                                      In The General Court Of Justice
Name Of Defendant
SAYELINE NUNEZ                                                                                                         District Court Division

  NOTE: Use this page to enter judgment on a Citation. Use this Judgment page only if imposing a single, consolidated judgment for ail offenses of
             conviction charged under this file number. Do not use this Judgment page to impose sentence: (i) if imposing separate judgments for separate
             offenses of conviction charged under this file number; (ii) to impose supervised probation; or (iii) for DWI sentences under G.S. 20-179. For DWI,
             use AOC-CR-342 (active) or AOC-CR-310 (probation). For structured sentencing offenses, use AOC-CR-602 (active) orAOC-CR-604 (probation).

                                                                                 JUDGMENT
District Attorney                                                Def. Waived Attomey      CO Def. Found Not Indigent
HOPE ALEXA ROBERTSON                                             Def. Denied Aonointed Counsel                                               PRIOR CONVICTIONS:
Attorney For Defendant At Time Of Trial Or Plea              O Appointed                                                   No.0 Level:   1

SETH RICHARD BULLARD                                             Retained
OFFENSES: The following offenses, which are set forth by Count No. in the Citation numbered above for the defendant named above,
                    are the subject of this Judgment:

Count1.       PLEA: [X] guilty/resp.      O not guilty/resp.         no contest

              FINDING/VERDICT:            guilty/resp.   [[] not guilty/resp.       vD                  M.CL.: LI a1         Ole     O3
Count 2.      PLEA: [] guilty/resp.       [[] not guilty/resp.   [[] no contest
              FINDING/VERDICT:            guilty/resp.       not guilty/resp.       vd                  M.CL.:   Lat         Oe              3


Count 3.      PLEA:        guilty/resp.       not guilty/resp.   [[] no contest
              FINDING/VERDICT:        [] guilty/resp.    [[] not guilty/resp.     [] VD                 M.CL.: Oat           O2 O3
Count 4.      PLEA: O guilty/resp.        O not guilty/resp.         no contest

              FINDING/VERDICT:        [] guilty/resp.        not guilty/resp.       vo                  M.CL.:   Cat         Oe O3
Count §.      PLEA:        guilty/resp.       not guilty/resp.       no contest

              FINDING/VERDICT:            guilty/resp.       not guilty/resp.     O vp                  M.CL.:   CIA O1 Ole O3
Count 6.      PLEA: [] guilty/resp.           notguilty/resp.    [J no contest
              FINDING/VERDICT:            guilty/resp.       not guilty/resp.     O vD                  M.CL. : LIA1         Ole     O3
Count 7.      PLEA: [] guilty/resp.       [[] not guilty/resp.   [[] no contest
              FINDING/VERDICT:        [J guilty/resp. [J not guilty/resp.           VD                  M.CL.:   Lat         Oe
Count 8.      PLEA:     [] guilty/resp.       not guilty/resp.   [[] no contest
              FINDING/VERDICT:        [J] guilty/resp.       not guilty/resp.                           M.CL.: Oat           He O3
Count9.       PLEA:        guilty/resp.   O notguilty/resp.          no contest

              FINDING/VERDICT:        [] guilty/resp. [] not guilty/resp.                               M.CL.:               Oe O3
Count 10. PLEA:            guilty/resp.   O not guilty/resp.         no contest

              FINDING/VERDICT:        [] guilty/resp.        not guilty/resp.       VD                  M.CL. : Oa1          Ole     O3




                                                                                    (Over)
  AOC-CR-502 (ICMS) Judgment, Rev. 2/21
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                                                                                0025

                    Case 1:23-cv-00423-WO-JLW Document 94-2 Filed 04/09/24 Page 26 of 28
                                                                                                 File No.
 Mecklenburg County                                                                              3CR43 1326-590
                STATE VERSUS                                                                 Citation No.

Name Of Defendant
SAYELINE NUNEZ
*NOTE: Use this Judgment page only if imposing a single, consolidated judgment for all offenses of conviction charged under this file number. Do not use
              this Judgment page to impose sentence: (i) if imposing separate judgments for separate offenses of conviction charged under this file number; (ii)
              to impose supervised probation; or (iii) for DWI sentences under G.S. 20-179. For DWI, use AOC-CR-342 (active) or AOC-CR-3100 (probation). For
              structured sentencing offenses, use AOC-CR-602 (active) raor AOC-CR-604 (probation).
                                                                   JUDGMENT (continued)
JUDGMENT: The defendant appeared in open court and freely, voluntarily and understandingly entered the plea(s) on Side One; on the verdict(s)/finding(s) from
Side One, it is ORDERED that all offenses of conviction, if more than one, be consolidated for judgment with Count No.        (list count of lead offense) and
that the defendant:                                      Amount Of Fine/Penaity              Costs

    pay the following fine/penalty and costs:   $0.00                                        $0.00
[X] be imprisoned for a term of days in custody of the
                                     1
                                                                   [x] sheriff.                         Other"
       Pretrial | credit days served.
       Work release        is recommended            is not recommended. (NOTE: To order work release, use form AOC-CR-602 to impose judgment.)
       The Court finds thata         longer    LC] shorter      period of probation than that which is specified in G.S. 15A-1343.2(d) is necessary.
       Execution of the sentence is suspended and the defendant is placed on unsupervised probation" for                  months, subject to the following conditions:
           1. commit no criminal offense in any jurisdiction. 2. possess no firearm, explosive or other deadly weapon listed in G.S. 14-269.
           3. remain gainfully and suitably employed, or faithfully pursue a course of study or of vocational training that will equip the defendant for suitable
           employment and abide by all rules of the institution. 4. satisfy child support and family obligations, as required by the Court.
           5. Submit to the taking of digitized photographs, including photographs of the defendant's face, scars, marks, and tattoos, to be included in the
           defendant's records. 6. pay to the Clerk the costs of court and any additional sums shown below.
            Costs                Fine                 Restitution**           Altorney's Fee       Community Service Fee       Other                 Total Amount Due
           $0.00                  $0.00                $0.00                      $0.00                                                                        $0.00
           **Name(s), address(es), and amount(s) for aggrieved party(ies) to receive restitution: (NOTE TO CLERK: Record SSN or Tax ID No. of aggrieved party(ies) on
           AOC-CR-382, "Certification Of Identity (Victims' Restitution)/Certification Of Identity (Witness Attendance).")



       7. complete     hours of community service during the first      days of probation, as directed by the judicial services coordinator, and pay the fee
      prescribed by G.S. 143B-1483 within            days.
   8. not be found in or on the premises of the complainant or
   9. not assault, communicate with or be in the presence of the complainant or
CL 10. provide a DNA sample pursuant to G.S. 15A-266.4. (AOC-CR-319 required)
   11. not operate a motor vehicle until properly licensed by DMV.
(J 12. Other:

    The Court finds just cause to waive costs as ordered on attached      AOC-CR-415. O AOC-CR-618. O Other:
Itis ORDERED that this:           Judgment is continued upon payment of costs.
                                  case be consolidated for judgment with
                                  sentence is to run at the expirationUF Me          in
    COMMITMENT: It is ORDERED that the Clerk deliver two certified copies of this Judgment and Commitment to the sheriff and that the sheriff
                     cause the defendant to be retained in custody to serve the sentence imposed or until the defendant shall have complied with the
                         conditions of release pending appeal.
Date                            Name Of District Court Judge Or Magistrate (type or print)                  Signature Of District Court Judge Or Magistrate
12/04/2023                      DENNIS J REDWING


                                                                           APPEAL ENTRIES                                                                                  WT
O The defendant, in open court, gives notice of appeal to the              O District Superior Court.
       The current pretrial release order is modified as follows:
Date                            Name Of District Court Judge Or Magistrate (type or print)                  Signature Of District Court Judge Or Magistrate




                                                                              CERTIFICATION
  certify that this Judgment is a true and complete copy of the original which is on file in this case.
Date                         Date Delivered To Sheriff    Signature Of Clerk
                                                                                                                                                 DeputyCSC          Asst. csc
                                                                                                                                                 Clerk Of Superior Court


  AOC-CR-502 (ICMS) Judgment, Side Two, Rev. 2/21, © 2021 Administrative Office of the Courts

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                                0027

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